         Case 1:20-cr-00290-KPF Document 18 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

                                                        20 Cr. 290 (KPF)
                      -v.-
DOMINICK LEWIS,                                             ORDER

                             Defendant.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of Mr. David Touger’s notice of appearance to

represent Defendant Dominick Lewis. (Dkt. #17). The Court ORDERS Mr.

Touger, Ms. Valerie Gotlib, Defendant, and counsel for the Government to

appear on November 2, 2020, at 11:00 a.m., with backup times of 10:30 a.m.

or 12:00 p.m., for a hearing, at which time the Court will arrange for the

appointment of Mr. Touger as counsel for Defendant. The date and time will be

confirmed the week before the conference, and instructions for accessing the

hearing will be provided separately.

      SO ORDERED.

Dated:      October 21, 2020
            New York, New York             __________________________________
                                                KATHERINE POLK FAILLA
                                               United States District Judge
